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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               Case No. 4:14-cr-00121-01 KGB

NATHANIEL SMITH, IV                                                             DEFENDANT

                                             ORDER

       Pending is defendant Nathaniel Smith’s unopposed motion to continue sentencing

(Dkt. No. 64). For good cause shown, the motion is granted.

       The sentencing hearing in this matter is removed from this Court’s calendar for Thursday,

July 23, 2015, and is rescheduled for Thursday, August 27, 2015 at 10:00 a.m.

       It is so ordered this 22nd day of July, 2015.


                                                       ____________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
